IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
v. Case No. 20-00224-01-CR-DGK
BRIAN J. PONTALION,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement that the parties request be made
binding upon the Court upon its acceptance of the plea agreement. The parties request that the
Court impose a sentence of imprisonment between 120 and 180 months, a five-year term of
supervised release, and a $100 special assessment, and as more fully described below:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Teresa A. Moore, Acting United States Attorney, Ashleigh A. Ragner,
Assistant United States Attorney, and Sarah J. Rasalam, Special Assistant United States Attorney,
and the defendant, Brian J. Pontalion (“the defendant”), represented by Ronna Holloman-Hughes.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

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2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to
the Indictment. Specifically, the defendant agrees to plead guilty to a violation of 21 U.S.C.
§§ 841(a)(1) and (b)(1)(A), that is, possession with intent to distribute 50 grams or more of
methamphetamine (actual). By entering into this plea agreement, the defendant admits that he
knowingly committed this offense, and is in fact guilty of this offense.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the
offenses to which he is pleading guilty are as follows:

On August 26, 2020, at approximately 3:00 p.m., law enforcement officers
with the Kansas City, Missouri Police Department were operating in an undercover
capacity and conducting surveillance related to suspected ongoing illegal drug
trafficking activity at 4417 North Jackson Avenue, Kansas City, Missouri. An
officer observed the defendant, Brian J. Pontalion, enter a white Chevrolet Tahoe
and begin driving.

An officer maintained intermittent visual surveillance of the Chevrolet
Tahoe as it traveled from 4417 North Jackson Avenue to West 13th Street and
Wyandotte Street in downtown Kansas City, Missouri. The officer observed the
defendant commit several traffic violations while driving the Chevrolet Tahoe, such
as driving in an erratic manner, making illegal turns, driving the wrong way down
a one-way street, and weaving in and out of other motorists during rush hour traffic.
The defendant’s driving caused at least one other motorist to take evasive action.

When the Chevrolet Tahoe came to a stop at West 13th Street and
Wyandotte Avenue, marked patrol cars attempted to conduct a pedestrian check of
the defendant as he was exiting the driver’s seat of the Chevrolet Tahoe. An
officer observed the defendant to have a blue bag on his shoulder. Upon observing
the officers, hearing them call out his name, and informing him that he was under
arrest, the defendant immediately got back into the driver’s seat of the Chevrolet
Tahoe with the blue bag. The defendant fled in the vehicle, striking a police
vehicle occupied by officers who were attempting to assist in the stop. The
defendant fled at a high rate of speed southbound, disregarding all traffic control
signals and signs, as well as other motor vehicle and pedestrian traffic. The
defendant lost control of the vehicle, left the roadway, and struck a light pole at
West 16th Street and Baltimore Avenue.

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After colliding with the light pole, officers observed the defendant attempt
to climb out of the window on the driver’s side door with the blue bag in his hand.
The officers observed the defendant throw the blue bag into the back seat of the
Chevrolet Tahoe.

After the defendant was taken into custody, an inventory of the Chevrolet
Tahoe revealed the blue bag in the back seat, Upon opening the blue bag, an
officer observed what he believed to be methamphetamine, MDMA (ecstasy),
marijuana, LSD tabs, ketamine, opium alkaloids, an assortment of unknown pills,
a black digital scale with residue, and a flip phone.

A forensic specialist with the Kansas City, Missouri Police Crime
Laboratory. assessed the drugs and determined the following quantities of
methamphetamine were in the blue bag: one bag containing approximately 167
grams of methamphetamine, which the specialist determined contained at least 87%
pure methamphetamine; one bag containing approximately 106 grams of
methamphetamine, which the specialist determined contained at least 80% pure
methamphetamine; and one bag containing approximately 1 gram of
methamphetamine.

The defendant admits he possessed over 50 grams of methamphetamine
(actual) in the Western District of Missouri. The defendant further admits he
possessed the methamphetamine with the intention of distributing all or a portion
of the substance for a profit.

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,
understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining his guilt and advisory sentencing range
under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the
defendant’s offense level in accordance with U.S5.S.G: § 1B1.3(a)(2).. The. defendant
acknowledges, understands and agrees that the conduct initially charged in the Indictment as well
as all other uncharged related criminal activity may be considered as “relevant conduct” pursuant

to U.S.S.G, § 1B1.3(a)(2) in calculating the offense level for the charges to which he is pleading

guilty.

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5. Statutory Penalties. The defendant understands that upon his plea of guilty to the
Indictment, charging him with possession with intent to distribute 50 grams or more of
methamphetamine (actual), the minimum penalty the Court may impose is ten years’ imprisonment
and a five-year term of supervised release. The maximum penalty the Court may impose is life
imprisonment. The Court may also impose up to a $10,000,000 fine. The defendant
understands that this isa Class A Felony. The defendant further understands the Court shall impose
a $100 mandatory Special Assessment, which must be paid in full at the time of sentencing.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to
the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission. While these Guidelines are advisory in nature, and the
Court ordinarily would have the discretion to impose a sentence either less than or
greater than the court-determined advisory Guidelines range, in this instance the
parties agree, pursuant to Rule 11(c)(1)(C), that the Court must impose sentence as
follows: A sentence comprised of between 120 and 180 months’ imprisonment, a
five-year term of supervised release, and a $100.00 special assessment. If the
court accepts this plea agreement, it must inform the defendant that sentence will
be imposed in accordance with this agreement of the parties. Ifthe Court rejects
this plea agreement, it must, on the record and in open court, inform the parties that
the Court rejects the plea agreement, advise the defendant personally that because
the Court is rejecting the plea agreement the Court is not required to impose
sentence in accordance with the agreement of the parties, give the defendant an
opportunity to withdraw the defendant’s guilty plea, and further advise the
defendant that if the plea is not withdrawn, the Court may dispose of the case less
favorably toward the defendant than the plea agreement contemplated”

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

e, in addition to a sentence of imprisonment between 120 and 180
months, the Court will impose at least a five-year term of supervised release, as
agreed upon herein;

d. if the defendant commits a supervised release violation, the Court
may revoke his supervised release and impose an additional period of imprisonment

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without credit for time previously spent on supervised release. In addition to a
new term of imprisonment, the Court also may impose a new period of supervised
release; and

e, any sentence of imprisonment imposed by the Court will not allow
for parole.

7. Government’s Agreements. Based upon evidence in its possession at this time, the
United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,
agrées not to bring any additional charges against defendant for any federal criminal offenses
related to the charges to which the defendant _— pled guilty for which it has venue and which
arose out of the defendant’s conduct described above. Additionally, the Government agrees not
to file charges related to the events that occurred on July 14, 2020, and documented in Kansas
City, Missouri Police Department, Case Report Number KC20046789.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by. the defendant in this agreement. If the defendant breaches this plea agreement, the
United States retains the right to proceed with the original charges and any other criminal
violations established by the evidence. The defendant expressly waives his right to challenge the
initiation of the original charge against him if he breaches this agreement.

The defendant expressly waives his right to assert a statute of limitations defense if the
original charge is initiated against him following a breach of this agreement. The defendant

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further understands and agrees that if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States
will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and
conduct of the defendant, including the entirety of his criminal activities. The defendant
understands these disclosures are not limited to the count to which he has pleaded guilty. The
United States may respond to comments made or positions taken by the defendant or the
defendant’s counsel and to correct any misstatements or inaccuracies. The United States further
reserves its right to make any recommendations it deems appropriate regarding the disposition of
this case, subject only to any limitations set forth in this plea agreement. The United States and
the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant
to Rule 32(i)(4) of the Federal Rules of Criminal Procedure.

9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored
to their pre-plea agreement positions to the fullest extent possible. However, after the plea has
been formally accepted by the Court, the defendant may withdraw his plea of guilty only if the
Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting
the withdrawal.

10. Agreed Guidelines Applications. With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

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a. The Sentencing Guidelines do not bind the Court and are advisory
innature. However, if the court accepts this Rule 11(c)(1)(C) plea agreement, the
Court is bound to impose the sentence agreed to by the parties, as set forth in
paragraph 6 above;

b. The parties agree that, pursuant to U.S.S.G. § 2D1.1(c)(3), the base
offense level is at least 34;

c. The parties agree that, pursuant to U.S.S.G. § 2D1.1(b)(1), the base
offense level will be increased by two levels because a dangerous weapon was
possessed on July 14, 2020, during a law enforcement contact that will be

considered relevant conduct;

d. The parties agree that, pursuant to U.S.S.G. § 3A1.2(c)(1), the base
offense level will be increased by six levels as the defendant assaulted a law
enforcement officer during the course of the offense or immediate flight therefrom;

w. The parties agree that, pursuant to U.S.S.G. § 3C1.2, two levels are
added for reckless endangerment during flight;

f The defendant has admitted his guilt and clearly accepted
responsibility for his actions, and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a three-level reduction pursuant to § 3E1.1
of the Sentencing Guidelines unless the defendant (1) fails to abide by all of the
terms and conditions of this plea agreement and his pretrial release; or (2) attempts
to withdraw his guilty plea, violates the law, or otherwise engages in conduct
inconsistent with his acceptance of responsibility;

g. ‘There is no agreement between the parties regarding the defendant’s
criminal-history category. .The parties-agree that the Court will. determine his
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

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h. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels;

i. The defendant and the United States confirm that the agreed
sentence set forth in paragraph 6 above is both reasonable and authorized by law;

j. The defendant consents to judicial fact-finding by a preponderance

of the evidence for all issues pertaining to the determination of the defendant's

sentence, including the determination of any mandatory minimum sentence

(including the facts that support any specific offense characteristic or other

enhancement or adjustment), and any legally authorized increase above the normal

statutory maximum. The defendant waives any right to a jury determination
beyond a reasonable doubt of all facts used to determine and enhance the sentence
imposed and waives any right to have those facts alleged in the Indictment. The
defendant also agrees that the Court, in finding the facts relevant to the imposition

of sentence, may consider any reliable information, including hearsay; and

k. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that he will

make during his plea colloquy, support the imposition of the agreed-upon

Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement

voidable by the United States at its option. If the Government exercises its option to void the

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plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

a, oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charges in the Indictment;

C oppose any arguments and requests for relief the defendant might

advance on an appeal from the sentence imposed and that the United States remains
free on appeal or collateral proceedings to defend the legality and propriety of the
sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or
other relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the

following rights:
a. the right to plead not guilty and to persist in a plea of not guilty;
b. the right to be presumed innocent until his guilt has been established

beyond a reasonable doubt at trial;

c. . the right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify
against him;

€. the right to compel or subpoena witnesses to appear on his behalf;
and

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f. the right to remain silent at trial, in which case his silence may not
be used against him.

The defendant understands that by pleading guilty, he waives or gives up those rights, and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask him questions about the offense to which he pleaded guilty, and if the defendant answers
those questions under oath and in the presence of counsel, his answers may later be used against
him in a prosecution for perjury or making a false statement. The defendant also understands he
has pleaded guilty to a felony offense and, as a result, will lose his right to possess a firearm or
ammunition and might be deprived of other rights, such as the right to vote or register to vote, hold
public office, or serve on a jury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by
pleading guilty pursuant to this plea agreement he waives his right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,
except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct.

b. The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the irnposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

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16. Financial Obligations. By entering into this plea agreement, the defendant
represents that he understands and agrees to the following financial obligations:

a. The Court must order restitution to the victims of the offenses to
which the defendant is pleading guilty. The defendant agrees that the Court may
order restitution in connection with the conduct originally charged in the Indictment
and all other uncharged related criminal activity.

b. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine.

C. The defendant willfully and truthfully will disclose all assets and
property in which he has any interest, or over which the defendant exercises control
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in

force from the execution of this agreement until the defendant has satisfied the
restitution order in full.

d. Within 10 days of the execution of this plea agreement, at the request
of the United States Attorney’s Office, the defendant agrees to execute and submit
(1) a Tax Information Authorization form; (2) an Authorization. to Release
Information; (3) a completed financial disclosure statement; and (4) copies of
financial information that the defendant submits to the U.S. Probation Office. The
defendant understands that compliance with these requests will be taken into
account when the United States makes a recommendation to the Court regarding
the defendant's acceptance of responsibility.

&. At the request of the United States Attorney’s Office, the defendant
agrees to undergo any polygraph examination the United States might choose to
administer concerning the identification and recovery of substitute assets and
restitution.

i The defendant hereby authorizes the United States Attorney’s Office
to obtain a credit report pertaining to him to assist the United States Attorney’s
Office in evaluating the defendant’s ability to satisfy any financial obligations
imposed as part of the sentence.

. g. The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $100 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.

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The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing.

h. The defendant certifies that he has made no transfer of assets or
property for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover,
the defendant promises that he will make no such transfers in the future.

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations
under this plea agreement; or (2) let the plea agreement stand, collect the full
forfeiture, restitution, and fines imposed by any criminal or civil judgment, and also
collect 100% (one hundred percent) of the value of any previously undisclosed
assets. The defendant agrees not to contest any collection of such assets. In the
event the United States opts to be relieved of its obligations under this plea
agreement, the defendant’s previously entered pleas of guilty shall remain in effect
and cannot be withdrawn.

17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted
directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.
§ 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims
under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

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19, Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by. the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,
all statements made by him to law enforcement agents subsequent to the execution of this plea
agreement, any testimony given by him before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,
Rule 11(£) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,
or any other federal rule that pertains to the admissibility of an statements made by him

subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that he has entered
into this plea agreement freely and voluntarily after receiving the effective assistance, advice, and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his

attorney, or any other party to induce him to enter his plea of guilty.

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21. No Undisclosed Terms. The United States and defendant acknowledge and agree
that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be
enforceable against either party.

22. Government Will Move to Remand Defendant Into Custody At The Plea. The .
defendant understands that the crime to which he is pleading, that is, possession with intent to
distribute 50 grams or more of methamphetamine (actual), in violation of 21 U.S.C. §§ 841(a)(1)
and (b)(1)(A), is an offense for which a maximum term of imprisonment of ten years or more is
prescribed in the Controlled Substances Act. Accordingly, the government believes that pursuant
to 18 U.S.C. § 3143(a)(2), the Court must detain the defendant after he pleads guilty to the offense.

23. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea ee require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

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drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

Theresa A. Moore
Acting United States Attorney

Dated: “A211 2\ idling Paar

Ashleigh oe {el Sins ala)

 

Assistant United States Att

Violent Crime & Drug Trafficking Unit

 

Violent Crime & Drug Trafficking Unit

I have consulted with my attorney and fully understand all of my rights with respect to the
offense charged in the Indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I understand this
plea agreement and I voluntarily agree to it.

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Dated: MOL L/, ; MALAY
Brian J. Pontalion

Defendant

I am defendant Brian J. Pontalion’s attorney. I have fully explained to him his rights with
respect to the offense charged in the Indictment. . Further, I have reviewed with him the provisions
of the Sentencing Guidelines which might apply in this case. J have carefully reviewed every
part of this plea agreement with him. To my knowledge, Brian J. Pontalion’s decision to enter
into this plea agreement is an informed and voluntary one.

5/27/2021 Konna Nelloipvain Neghos
Dated: Z
Ronna Holloman-Hughes

Attorney for Brian J. Pontalion

 

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